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                    Exhibit H
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              To:                              Archegos Fund LP

             Attn:                             Operations team
             Email:                            Sbecker@archegoscapital.com;
                                               operationsarchegos@a rcheg oscapital.com

              From:                             MUFG Securities EMEA pie

              Date:                            07 May2020

              Re:                              Equity Swap Transaction
              MUS(EMEA) Ref.:                  ETU_ IQ_1 /46056447
              USI/UTI:                         103 0446315XXX46056447

             Dear Sir/Madam,

             The purpose of this communication (this "Confirmation") is to confirm the terms and conditions of the
             Transaction ente red into b etween us on the Trade Date specified below. This Confirmatio n constitutes
             a "Confirmation" as referred to in the ISDA Master Agreement specified below.

             The definitions and provisions contained in the 2006 ISDA Definitions (the " Swap Definitions') and
             the 2002 ISDA Equity Derivatives Definitions (the "Equity Definitions" and togethe r with the Swap
             Definitions, the "Definitions'), in each case as published by the International Swaps and Derivatives
             Association, Inc., are incorporated into this Confirmation. In the event of any inconsistency between
             the Swap Definitions and the Equity Definitions, the Equity Definitions will govern. In the event of any
             inconsistency between the Definitions and this Confirmation, the provisions of this Confirmation will
             govern. References herein to the "Transaction" shall be deemed refere nces to "Swap Transaction"
             for the purposes of the Swap Definitions.

             This Confirmatio n supplements, for ms part of, and is subject to, the ISDA Master Agreement dated as
             of03 September 2019, as amended and supplemented from time to time (the "Agreement"), between
             MUFG Securities EMEA pie ("MUS(EMEAr) and Archegos Fund LP (the "Counterparty"). All
             provisions contain ed in the Agreement shall govern this Confirm ation except as expressly modified
             below.

              1.    General Terms:

              The terms of the particular Transaction to which this Confirmation relates are as follows:

             Trade Date:                           24 April2020

             Effective Date:                       28 April2020

             Termination Date:                      The Cash Settlement Payment Date

             Shares:                                The common stock of IQIYI
                                                    (Bloomberg Screen: IQ UW)

             Exchange:                              NASDAQ Global Select Market

             Related Exchange(s):                   All Exchanges

             Equity Amount(s):

             Equity Amount Payer:                   MUS(EMEA)

             Number of Shares:                     1 ,000




Rule 6(e) Grand Jury Material                                                                         MU FG-Archegos-0000370
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            Equity Notional Amount:                USO 17,720

            Equity Notional Reset:                Not Applicable

            Type of Return:                       Total Return

            Initial Price:                         USO 17.72

            Final Price:                          The Closing Price

            ADTV Limitation:                      If, as of the scheduled Valuation Date, the Number of Shares (or the
                                                  relevant portion thereo f being terminated, in the case of early
                                                  termination), together with the number of Shares (or the relevant
                                                  portion thereof being terminated, in the case of early termination)
                                                  under any other equity swap transaction between the parties hereto
                                                  with respect to securities of the same Issuer and for which the final
                                                  Valuation Date or any early termination is occurring on the same day
                                                  (the "Total Number of Shares"), is greater than the ADTV Limit,
                                                  notwithstanding anything in this Confirmation or the Equity Definitions
                                                  to the contrary, the following terms shall apply.

                                                   (a)       Hedging Party may designate (as determined by it in its sole
                                                             discretion), a number of Averaging Dates equal to or more
                                                             than the quotient of the Total Number of Shares divided by
                                                             the ADTV Limit;

                                                   (b)       Any fractional Averaging Dates shall be rounded up to the
                                                             next whole number; and

                                                   (c)       the first Averaging Date shall be deemed to occur on the
                                                             scheduled Valuation Date with the remaining number of
                                                             Averaging Dates occurring thereafter, one on each
                                                             succeeding Scheduled Trading Day. The latest occurring
                                                             Averaging Date shall be deemed to be the final Valuation
                                                             Date for purposes of this Transaction (or the relevant portion
                                                             thereo f being termin ated, in the case of early termination)
                                                             and, fo r the avoidance of doubt, the determination of the
                                                             Final Price shall be determine d as if Averaging Dates had
                                                             been specified for the final Valuation Date and the
                                                             corresp onding Cash Settlement Payment Date shall be one
                                                             Settlement Cycle after such final Valuation Date.

            ADTV Limit:                           A number of Shares equal to the product of (i) the ADTV Limitation
                                                  Percentage and (ii) the trailing average daily trading volume for the
                                                  most recent 30-day period, determined as o f the scheduled fi nal
                                                  Valuation Date

            ADTV Limitation Percentage:           20%

            Valuation Dates:                      24 May 2021

            Closing Price:                        In respect of t he determination of a Fi nal Price or a Relevant Price,
                                                  as applicable, the last official price per Share quoted o r trade d on the
                                                  Exchange, at the Valuation Time on the Valuation Date or relevant
                                                  Averaging Date, as applicable (being the NASDAQ Official Closing
                                                  Price).

            Valuation Time:                       As specified in Section 6.1 of the Equity Definitions; provided that for
                                                  the purposes o f determining whether a Market Disruption Event has
                                                  occurred, the actual closing time on the relevant Exchange o n such




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                                                  Valuation Date

            Floating Amounts:

            Floating Amount Payer:                Counterparty

            Notional Amount:                      The Equity Notional Amount

            Floating Amount Payer
            Payment Date(s):                      28 May 2020, 26 June 2020, 28 July 2020, 26 August 2020, 28
                                                  September 2020, 28 October 2020, 27 November 2020, 29
                                                  December 2020, 27 January 202 1, 26 FEbruary 2021, 26 March
                                                  2021, 28 April 2021 and the final Cash Settlement Payment Date

            Floating Rate Option:                  USD-LIBOR-BBA

            Designated Maturity:                  One (1) month

            Spread:                               Plus 0.4000 per cent

            Floating Rate Day Count Fraction:     Actual/360

            Reset Dates:                          The first day of each Calculation Period.

            Business Days:                        New York

            Business Day Con1,19ntion:             Modified Following

            Settlement Terms:

            Cash Settlement:                      Applicable

            Settlement Currency:                   USO

            Cash Settlement Payment Date:         Two (2) Currency Business Days after the Valuation Date.

            Dividends:

            Dividend Period:                       First Period

            Dividend Amount:                      The Paid Amount multiplied by the Number of Shares as of the
                                                  relevant date

            Dividend Payment Date:                In respect of a Dividend Amount, the Cash Settlement Payment Date
                                                  relating to the end of the Dividend Period during which the Shares
                                                  commenced trading "ex" the relevant dividend on the Exchange.

            Re-in\A9stment of Dividends:          Not Applicable

            Dividend Reco1,19ry:                  If (a) the amount actually paid or delivered by the Issuer to holders of
                                                  record of the Shares in respect of any gross cash dividend declared
                                                  by the Issuer to holders of record of the Shares (a "Declared
                                                  Dividend") is not equal to that Decla red Dividend (a "Dividend
                                                  Mismatch Event'') or (b) the Issuer fails to make any p ayment or
                                                  delivery in respect of that Declared Dividend by the second Currency
                                                  Business Day following the relevant due date, then in either case the
                                                  Equity Amount Payer may (but is not obliged to) require the
                                                  Calculation Agent to determine:

                                                   (i)       any appropriate adjustment or repayment (includi ng any




 Rule 6(e) Grand Jury Material                                                                     MU FG-Archegos-0000372
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                                                             interest payable thereon) to be made by a party to account
                                                             for that Dividend Mismatch Event or non-p ayment or non­
                                                             delivery, as the case may be; and

                                                   (ii)      the date that repayme nt should be made and/or the effective
                                                             date of such adjustment.

                                                             If such an adjustment or repayment is made in accordance
                                                             with the foregoing provisions of this section and the Issuer
                                                             subsequently makes the relevant payment or delivery in
                                                             respect of the Declared Dividend (after the second Currency
                                                             Business Day following the relevant due date) to recipients
                                                             that were holders of record of the Shares on the relevant
                                                             record date on which the dividend was declared, then the
                                                             Calculation Agent shall determine:

                                                   (i)       any appropriate adjustment or payment         (includin g any
                                                             interest payable thereon) to be made by a party to account
                                                             for that subsequent payment or delivery, as the case may be;
                                                             and

                                                   (ii)      the date that payment should be made an d/or the effective
                                                             date of such adjustment.

                                                  The provisions of this section titled "Dividend Recovery" shall apply
                                                  and remain in full force and effect even if the Termination Date has
                                                  occurred.
            Adjustments:

            Method of Adjustment:                 Calculation Agent Adjustment

            Extraordinary Events:

            New Shares:                           In the definition of "New Shares" in Section 12.1(i) of t he Equity
                                                  Definitions, (a) the text in clause (i) thereof shall be deleted in its
                                                  entirety and replaced with "publicly quoted, traded or listed, (x) if the
                                                  Exchange is located in the United States, on any of the New York
                                                  Stock Exchange, The NASDAQ Global Select Market or The
                                                  NASDAQ Global Market , their respective successors, or such oth er
                                                  exchange or quotation system which, in the determination of the
                                                  Calculation Agent, has liquidity comparable to the aforementioned
                                                  exchanges; or, (y) if the Exchange is nct located in the Unite d States,
                                                  on an exchange or quotation system which in the determination of the
                                                  Calculation Agent has liquidity and other characteristics relevant to
                                                  this Transaction comparable to the original Exchange" (b) the
                                                  following language shall be inserted before the period at the end of
                                                  the ti rst sentence: "and (iii) of an entity or person that is a corporation
                                                  organize d under the laws of the jurisdiction under the laws of which
                                                  the Issuer is organized (or, if the Issuer, is organized in a jurisdiction
                                                  that is within the United States, that is organized under the laws of
                                                  the United States, any State thereof or the District of Columbia )." and
                                                  (c) the followi ng sentence shall be inserted at the end of the first
                                                  sentence thereof: "The exchange or quotation system on which the
                                                  New Shares a re quoted, traded or listed shall thereafter be the
                                                  Exchange."

            Consequences of Merger Events:

                Share-for-Share:                  Calculation Agent Adjustment




 Rule 6(e) Grand Jury Material                                                                        MU FG-Archegos-0000373
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                Share-for-Other:                  Cancellation and Payment

                Share-for-Combined:               Component Adjustment

               Determining Party:                  MUS(EMEA)

            Tender Offer:                         Applicable; provi ded that (i) Section 12. 1(d) of the Equity Definitions
                                                  is hereby amended by adding ", or of the outstanding Shares," before
                                                  "of the Issuer" in the fourth line thereof and (ii ) Sections 12.1(e) and
                                                  12. 1(I)(ii ) of the Equity Definitions are hereby amended by adding "or
                                                  Shares, as applicable," after "voting shares".

                Share-for-Share:                  Calculation Agent Adjustment

                Share-for-Other:                  Calculation Agent Adjustment

                Share-for-Combined:               Calculation Agent Adjustment

            Composition of Combined
            Consideration:                        Not Applicable; provided that Sections 12. 1 (f) and 12.S(b) of the
                                                  Equity Definitions notwithstanding, to the extent that the com position
                                                  of the consideration for the relevant Shares pursuant to a Tender
                                                  Offer or Merger Event could be elected by a holder of the Shares, the
                                                  Calculation Agent will, in its sole discretion, determine such
                                                  composition for purposes of this Transaction.

            Nationalization, Insolvency
            or Delisting:                         Cancellation and Payment; provided that in addition to the provisions
                                                  of Section 12. 6(a)(iii) of the Equity Definitions, it shall also constitute
                                                  a Delisting if the Exchange is located in the United States and the
                                                  Shares are not imme diately re-listed, re-traded or re-quoted on any of
                                                  the New York Stock Exchange, The NYSE Market LLC, the NASDAQ
                                                  Global Select Market or The NASDAQ Global Market, their respective
                                                  successors, or such other exchange or quotation system which, in
                                                  the determination of the Calculation Agent, has liquidity comparable
                                                  to the aforementioned exchanges; if the Shares are immediately re­
                                                  listed, re-traded or re-quoted on any such exchan ge or quotation
                                                  system, such exchange or quotation system shall be deemed to be
                                                  the Exchange.


            Additional Disruption Events:

            Change in Law:                        Applicable; provided that Section 12.9(a)(ii) of the Equity Definitions
                                                  is replaced in its entirety as follows:

                                                  ""Change in L aw" means that, on or after the Trade Date of this
                                                  Transaction, either party in good faith determines that (A) due to the
                                                  adoption of or any change in any applicable law or regulation
                                                  (including, without limitation, any tax law and notwithstanding the fact
                                                  that such adoption or change may have occurred prior to the Trade
                                                  Date), or (B) due to the promulgation of or any change in the
                                                  interpretation by any court, tribunal or re gulatory authority with
                                                  competent jurisdiction of any applicable law or regulation (including
                                                  any action taken by a taxing authority and notwithstanding th e fact
                                                  that such promulg ation or change in interpretation may have occurred
                                                  prior to the Trade Date):

                                                  (X) it has or it will, within the next 15 calendar days but on or before
                                                  the Termination Date, become illegal for such party to hold, acquire




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                                                  or dispose of any of its Hedge Positions relating to this Transaction;
                                                  or

                                                  (Y) either the adoption or change describe d in Section 12.9(a)(ii)(A)
                                                  of the Equity Definitions or the promulgation or change described in
                                                  (B) above has resulted or will result, within the next 15 calendar days
                                                  but on or before the Termination Date, in an increased amount of tax,
                                                  duty, expense o r fee (other than brokerage commissions) for Hedging
                                                  Party to (i) acquire, establish, re-establish, maintain, unwind or
                                                  dispose of any of its Hedge Positions or (ii) realize, recover o r remit
                                                  the proceeds of such Hedge Positions, which amount such
                                                  Calculation Agent in good faith determines to be material (relative to
                                                  the position on the Trade Date).

                                                  Notwithstandin g the foregoing, any determination as to whether an
                                                  adoption or change in any applicable law or re gulation described in
                                                  Section 12. 9(a)(ii)(A), or the promulgation of or any change any
                                                  interpretation o f any applicable law or regulation described in Section
                                                  12.9(a)(ii)(B), in each case, constitutes a "Change in Law" shall be
                                                  made without regard to Section 739 o f the Dodd-Frank Wall Street
                                                  Reform and Consumer Protection Act of 2010 or any similar legal
                                                  certainty provision in any legislation en acted, or rule or re gulation
                                                  promulgated, on or after the Trade Date."

            Failure to Deliver:                   Not Applicable

            Insolvency Filing:                    Applicable

            Hedging Party:                         MUS(EMEA)

            Determining Party:                     MUS(EMEA)

            Hedging Disruption:                   Applicable; provided that, (i) Section 12.9(a)(v) of the Equity
                                                  Definitions is replaced with the following:

                                                  "(v) "Hedging Disruption" means that the Hedging Party is unable,
                                                  after using commercially reasonable efforts, to (A) acquire, establish,
                                                  re-establish, substitute, maintain, unwind or dispose o f any
                                                  transactions or assets (including, without limitation, stock loans and
                                                  other t ransactions that can be used to create a long or short
                                                  exposure to the Shares) that hedge, in a commercially reasonable
                                                  manner, based on prevailing circumstances applicable to the
                                                  Hedging Party, the equity price risk, interest rate risk and dividend
                                                  risk of entering into and performing its obligations with respect to the
                                                  Transaction (any such transactions or assets, a "Hedging Party
                                                  Hedge") or (B) realize, recover or remit the proceeds of a Hedging
                                                  Party Hedge. However, any such inability that (1) occurs primarily
                                                  due to the deterioration of the creditworthiness of the Hedging Party
                                                  or (2) could be avoide d by the Hedging Party, acting in a
                                                  commercially reasonable manner base d on prevailing circumstances
                                                  applicable to the Hedging Party, shall not be a Hedging Disruption.";
                                                  and

                                                  (ii) Section 12.9(b)(iii) of the Equity Definitions is hereby amen ded by
                                                  (A) inserting "(A)" prior to the words "to terminate the Transaction" in
                                                  the third line thereof, (B) inserting after the words "to terminate the
                                                  Transaction", the words "or a portion of the Transaction affected by
                                                  such Hedging Disruption" and {C) inserting prior to the period at the
                                                  end of the s entence the words "(B) that such occurrence be a
                                                  Potential Adjustment Event and/or (C) to deem that a Market




 Rule 6(e) Grand Jury Material                                                                      MU FG-Archegos-0000375
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                                                  Disruption Event h as occurred and will be continuing at any time
                                                  following the occurrence and during the continuance of such an
                                                  event".

            Increased Cost of Hedging:            Applicable

                                                  Section 12.9(a)(vi) of the Equity Definitions is replaced with the
                                                  following:

                                                  "(vi) " Increased Cost of Hedging" means that the Hedging Party
                                                  would incur a materially increased (as com pared with the
                                                  circumstances that existed on the Trade Date) amount of tax, duty,
                                                  expense or fee (other than brokerage commissions) (which am ount of
                                                  tax shall include, without limitation, any amount of tax due to any
                                                  increase in tax liability, decrease in tax benefit or other adverse effect
                                                  on its tax position in relation to dividends) (a " Hedging Cost") to (A)
                                                  acquire, establish, re-establish, substitute, maintain, unwind or
                                                  dispose of the H edging Party Hedge or (B) realize, recover or remit
                                                  the proceeds of the Hedging Party Hedge. However, any such
                                                  materially increased amount that is (1) incurred solely as a result of
                                                  the deterioration of the creditworthiness of the Hedging Party or (2)
                                                  could be avoided by the Hedging Party, acting in a commercially
                                                  reasonable m anner base d on prevailing circumstances applicable to
                                                  the Hedging Party, shall not be an Increased Cost of Hedging."

            Loss of Stock Borrow:                 Applicable

            Maximum Stock Loan Rate:              As determined by the Calculation Agent in a commercially reasonable
                                                  manner

            Increased Cost of Stock               Applicable
            Borrow:

            Initial Stock Loan Rate:              As determined by the Calculation Agent in a commercially reasonable
                                                  manner

            Determining Party:                     MUS(EMEA)

            Coll ateral :                         This Transaction is subject to the C redit Support Annex (the " CSA")
                                                  which forms part of the Agreement between the parties, as the case
                                                  may be. The Independent Amount under the CSA for Counterparty
                                                  under this Transaction shall be 15% of the Equity Notional Amount.

            Add itional Representations, Agreements and Acknowl edgements:

            Agreements and
            Acknowledgments
            Regarding Hedging Activities:         Applicable

            Additional Acknowledgments:           Applicable

            Non-Reliance:                         Applicable

            Calcul ation Agent:                   MUS(EMEA) o r any of its affiliates. The C alculation Agent is
                                                  responsible for making all determinations that are not expressed to
                                                  be the responsibility of an identified party.




 Rule 6(e) Grand Jury Material                                                                      MU FG-Archegos-0000376
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            Optional Early Termination


            The following optional early termination provision will apply to the Non- Hedging Party an d will apply to
            the Hedging Party:

            Notwithstanding any other terms under this Confirmation, the following optional early termination
            provisions will apply to the early termination of this Transaction (an "Optional Termination") by
            either party (such terminating party, the "O ET Electing Party "), whether such termination is in part (a
            "Partial Termination") or in whole (a "Transaction Termination"); provided that such termination is
            made upon the proper p rior notice specifie d in paragraph (a) below and neither a n Event of Default
            with respect to the OET Electing Party nor an Additional Termination Event with to this Transaction
            and under which the OET Electing Party is the sole Affected Party has occurred or is continuing:

                 (a) The OET Electing Party may elect to terminate this Transaction in whole or in part by (i)
                     delivering a notice of Optional Termination (an "Optional Termination Notice") to the other
                     party by e-mail or otherwise in writing (including via Bloomberg) no later than 2:00 p.m. New
                     York time on the Exchange Business Day such Optional Termination becomes effective (the
                     "Optional Termination Valuation Date") and (ii) specifying in the Optional Termination
                     Notice the Optional Termin ation Valuation Date, whether the termination is in whole or in part,
                     and, if in part, the relevant portion of the Equity Notional Amount (including the Issuer and
                     Number of Shares) that is the subject of the proposed Optional Termination (he "Terminated
                     Number of Shares'', which shall be deemed to equal the Number of Shares for this
                     Transaction if the OET Electing Party elects to terminate this Transaction in whole); provided
                     that in no event will an Optional Termination Valuation Date for this Transaction occur later
                     than the scheduled fl nal Valuation Date for this Transaction or the Terminated Number of
                     Shares for this Transaction exceed the Number of Shares for this Transaction as of the date
                     of the Optional Termination Notice.

                 (b) If Averaging Dates and ADTV Limitations are Not Applicable, the Optional Termination
                     Valuation Date shall be deemed the final Valuation Date for the Terminated Number of
                     Shares and the corresponding Cash Settlement Payment Date shall be the final Period End
                     Date for the Termin ated Number of Shares. If Averaging Dates and ADTV Limitations a re
                     Applicable, the latest occurring Averaging Date shall be deemed to be the final Valuation Date
                     for purposes of the Terminated Number of Shares, with the corresponding Cash Settlffilent
                     Payment Date and Period End Date for the Terminated Numbe r of Shares being the date that
                     is one Settlement Cycle following such final Valuation Date; provided that, MUS(EMEA) may
                     postpone the Valuation Date if MUS(EMEA) reasonably determines that such extension is
                     reasonably necessary or appropri ate in connection with its hedging activity hereunder due to
                     illiquidity in the market for the Shares or its Hedge Position.

                 (c) The Calculation Agent shall (i) determine the net amount (the "Optional Termination
                     Amount ") payable in connection with th e Optional Termination in accordance with t he
                     Confirmation and (ii) in the case of a Partial Termin ation, adjust any subsequent Equity
                     Amount, Floating Amount and Dividend Amount to account for the payment of the Optional
                     Termination Amount.

                 (d) In the case of a Partial Termination, this Transaction shall remain outstanding, but only in
                     relation to the Number of Shares equal to the Number of Shares immediately prior to such
                     Optional Early Termi nation Date less the Terminated Number of Shares. In the case o f a
                     Transaction Termination, the obligations of the parties to make further payments under the
                     Transaction (except p ayments that are due but unpaid as of such Optional Termin ation Date)
                     will cease on the Optional Termination Date.

            Additional Representations, Warranties and Covenants

                     (i)     All of the actions taken by MUS(EMEA) and Cou nterparty in connection with this
                     Transaction shall be taken independently and without any advance or subsequent
                     consultation. M US(EMEA) an d Counterparty have not informed and shall not inform the other




 Rule 6(e) Grand Jury Material                                                                     MU FG-Archegos-0000377
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                     of any existing positions or strategies, if any, with respect to securities of the Issuer underthis
                     Transaction or derivatives of such securities.

                     (ii)     For the avoidance of doubt and notwithstan ding any provIsIon of the Equity
                     Definitions, neither M US(EMEA) nor Counterparty shall acquire any right to vote or to give
                     any consent with respect to the Shares underlying this Transaction by virtue of this
                     Transaction. Without limiting the generality of the foregoing, the Floating Arnau nt Payer, shall
                     not be entitled pursuant to this Transaction, whether directly or indirectly, to vote or direct the
                     voting of, o r to give o r direct the giving of any consent with respect to, any Shares underlying
                     this Transaction (includi ng any such Shares held by or on behalf of the Equity Amount Payer
                     as a hedge for this Transaction), and the parties agree that the Equity Amount Payer shall not
                     take any such directions or instructions from the other party, or any of its offcers, directors,
                     employees, agents or representatives as to such voting or consent. This provision shall not
                     affect any rights the Equity Amount Payer has in any securities held by or on behalf of the
                     Equity Amount Payer as a hedge for this Transaction, inclu ding the Shares underlying such
                     transaction.

                     (iii)    Each party represents and warrants that they are not entering into this Transaction
                     with the purpose o r effect of changing or influencing control of the applicable Issuer and shall
                     not seek to change or influence control of such Issuer during the term of this Transaction.


                 Add itional Representations and A greements of Counterparty and MUS{E ME A):

                     (i)     Without limiting any oth er protections under the U.S. Bankruptcy Code (Title 11 of the
                             Unite d States Code) (the "Bankruptcy Cod e"),The parties hereto intend as follows
                             (x) this Transaction is a "swap agreement," as such term is defined in Section
                             101 (53B) of the Bankruptcy Code, qualifying for p rotection under Section 560 of the
                             Bankruptcy Code; and a "swap agreement," as such term is defined in Section 206(b)
                             of the United States Gramm-Leach Bliley Act; (y) any cash, securities or other
                             property provided as performance assurance, credit support or collateral in respect of
                             this Transaction constitute a "transfer" as defined in Section 101(54) of the
                             Bankruptcy Code under a "swap agreement"; and (z) any payment f or, under or in
                             connection with this Transaction constitutes a "transfer" as defined in Section 101 (54)
                             of the Bankruptcy Code under a "swap agreement.

                     (ii)    As of the Trade Date of this Transaction, each party rep resents that it is not entering
                             into this Transaction on behalf of or for the accounts of any other person or entity,
                             and will not transfer or assign its obligations under this Transaction or any portion of
                             such obligations to any other person or entity except in compliance with applicable
                             laws and the terms of the Transaction.

                    (iii)    As of the Trade Date of this Transaction and as of the date of any payment or
                             delivery by M US(EMEA) or Cou nterparty hereunder, it is solvent and able to pay its
                             debts as they come due, with assets having a fair value greater than liabilities and
                             with capital sufficient to carry on the businesses in which it engages.


                 Add itional Representations of Counterparty. The following represe ntations and warranties
                    shall be deemed, for the purposes of this Transaction, m ade on each day such Transaction is
                    in effect:

                     (i) Non-Affiliate Status. Counterparty represents and warrants to M US(EMEA), that (i) it is not
                          and has not been during the three month period ending on the Trade Date thereof, and
                          will not become during the term of this Transaction an affiliate, as defined in Rule 144
                          under the U.S. Securities Act of 1933, as amended (the "Securities A ct"), of the Issuer of
                          the Shares for this Transaction and (ii) it is not and will not become during the term of this
                          Transaction an officer, di rector or "ten percent beneficial owner" within the meaning of
                          Section 16 of the U.S. Exchange Act of 1934, as amended (the " Exchange Act") of the
                          Issuer of the Shares underlying this Transaction.




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                     (ii) No Material Non-public Information. Counterparty represents and warrants to MUS(EMEA)
                              that that (A) it will not enter into, amend, or terminate this Transaction while in
                              possession of material, non-public information concerning the Issuer of, if this
                              Transaction is a Share Transaction, the Shares for this Transaction and (B) it will
                              enter into, amend or terminate this Transaction in good faith and not as part of a plan
                              or scheme to evade the prohibitions of federal securities laws, including, without
                              limitation, Section 13(d) of and Rule 10b-5 under the Exchange Act.

                     (iii) Exchange Act Filings.          Counterparty represents and warrants that (A) it has made all
                           public filings under the Exchange Act with respect to the Shares as required by applicable
                           law or regulation and, during the term of this Transaction, it will continue to make all such
                           required public filings under the Exchange Act with respect to the Shares; (B) if it
                           beneficially owns 5% or more of any class of the Issuer's securities registered under the
                           Exchange Act, it is eligible to file reports on Schedule 13G; and (C) the aggregate amount
                           of all Shares beneficially owned by it for purposes of Section 13(d) of the Exchange Act,
                           when combined with the notional amount of Shares underlying any long derivative
                           position, is less than 5% of the outstanding Shares.

                       (iv) No Tax Advice. Counterparty has not relied on M US(EMEA) for tax advice an d has
                             consulted its own tax advisor.

                     (v) Exemption from Registration. To the extent the Transaction constitutes a sale of a security
                          or securities (as defined in the United States Securities Act of 1933, as amende d (the
                          "Securities Act")), in addition to the representations contained in Section 3 of t he
                          Agreement, Counterparty hereby represents that it is an "accredited investor" as defined
                          under Rule 501 (a) of SEC Re gulation D and understands that any offer an d sale of
                          securities under the Transaction is exempt from registration under the Securities Act by
                          virtue of Section 4(a)(2) thereof. In furtherance thereof, Cou nterparty represents and
                          warrants that (i) it has the financial ability to bear the economic risk of its investment and
                          has adequate means of providing for its curre nt needs and other contingencies, and (ii) it
                          is experie nced in investing in similar instruments and has determined that such
                          securities are a suitable investment for it.

                 Additional Provisions:

                     (i)     Exchange Codes. To the extent that information within this Confirm ation for an
                     Exchange or Related Exchange provides a R I C, REC, or Bloomberg code that indicates an
                     exchange, exchanges, a quotation system or quotation systems, such exchange, exchang es,
                     quotation system and/or quotation systems shall be the Exchange(s) or Related Exchange (s)
                     as applicable.

                     (ii)     Entire Agreement; Amendments; Counterparts. This Confirmation constitutes the
                     entire agreement and understanding of the parties with respect to its subject matter and
                     supersedes all oral communication an d prior w ritings with respect specifically thereto. An
                     amendment, modification or waiver in respect of this Confirmatio n will be effective only if in
                     writing (including a writing evidenced by a facsimile transmission) and executed by each of
                     the parties or confirmed by an exchange o f telexes or by an exchange of electronic messages
                     on an electronic messaging system. This Confirmation may be execute d in counterp arts, each
                     of which will be deemed an original. The headings used in this Confirm ation are for
                     convenience of reference only and shall not affoct the construction of or be taken into
                     consideration in interpreting this Confirmation.

                     (iii)    Governing Law· J urisdiction· Waiver of Jury Trial. This Confirmation will be governed
                     by and construed in accordance with the law specified in the Agreement ard will be subject to
                     the jurisdiction, service of process and waiver of immunities provisions of Section 13 of t he
                     Agreement. Each party waives, to the fullest extent permitted by applicable law, any right it
                     may have to a trial by jury in respect of any suit, action or proceeding relating to this
                     Contirmation.




 Rule 6(e) Grand Jury Material                                                                       MU FG-Archegos-0000379
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            2.   Account Details

            Payments to MUS(EMEA):            As per our standard settlement instructions.

            Payments to Counterparty:         As per your standard settlement instructions.


            3. Offices

            (a) The Office of MUS(EMEA) for this Transaction is London; and

            (b) The Office of the Counterparty for this Transaction is New York.


            4.   Contacts

            Address:                  MUFG Securities EMEA pie
                                      Ropemaker Place,
                                      25 Ropemaker Street,
                                      London EC2Y 9AJ

            Group:                    Derivati've Confirmations
            Email:                    docsconfirms@int.sc. mufg.jp
            Telephone No.:            +44 207 577 2813 / 2640
            Fax No.:                  +44 207 577 2898

            Group:                    Derivati've Settlements
            Email:                    dspsettlements@int.sc. mufg.jp
            Telephone No.:            +44 207 577 2657 / 2663

            MUS(EMEA) Contact Details for
            purpose of giving Notice:
            Name:                    Ryan Osbourne
            Telephone:               +1-212-405-7451
            E-mail:                 ETU-All@mufgsecurities. com


             MUS(EMEA) confirms that it is acting as principal. The time of dealing will be confirmed by
             MUS(EMEA) upon written request.




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             Please confirm that the foregoing correctly sets forth the terms an d conditions of th e Transaction by
             executing a copy of this Confirmation and returning it to us.

             Yours faithfully,

             MUFG Securi ties E MEA pie




             By: __________                                   By: __________
             Name: Ching Yuen                                 Name: Karla Dhanjal
             Title: Authorised Signatory                      Title: Authorised Signatory

             Accepted and agreed by

             Archegos Fund LP




             By: __________                                   By: __________
             Name:                                            Name: Pat ri ck Hal l i gan
             Title:                                           Title: Au tho ri zed Pe rson


             MUS(EMEA) Ref: ETU_IQ_1 / 46056447




 Rule 6(e) Grand Jury Material                                                                    MU FG-Archegos-0000381
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